Filed 06/17/21                                                              Case 10-11769                       Doc 72

     FORM FM3950D: Notice of Deficiency Re: Application for Payment of Unclaimed Funds (v.2.19)   10−11769 − A − 7
                    UNITED STATES BANKRUPTCY COURT
                         Eastern District of California
                                 Robert E. Coyle United States Courthouse
                                     2500 Tulare Street, Suite 2501
                                         Fresno, CA 93721−1318
                                             (559) 499−5800
                                         M−F 9:00 AM − 4:00 PM
                                         www.caeb.uscourts.gov


                            NOTICE OF DEFICIENCY RE: APPLICATION FOR PAYMENT
                                           OF UNCLAIMED FUNDS

     Case Number:              10−11769 − A − 7
     Debtor Name(s) and Address(es):


        Victor Cruz
        2709 Nicole Way
        Bakersfield, CA 93312




      Your application is incomplete, or the wrong form was used. Please see below for more
     information:


     More documentation is required to process your application. Please submit the following item(s):


     Other:

     1. Documentation to show proof of current address (utility bill etc).

     2. New Proposed Order for Payment of Unclaimed Funds (EDC 6950) to include the name and address
     of the applicant. They must match the name and address on the application and AO213P form.
